445 F.2d 307
    UNITED STATES of America, Plaintiff-Appellee,v.Victor Lawrence TAYLOR, Defendant-Appellant.No. 30877 Summary Calendar.**Rule 18, 5th Cir. See Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York et al., 5 Cir. 1970, 431F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    July 1, 1971.
    
      Theodore E. Smith, Atlanta, Ga., for defendant-appellant.
      John W. Stokes, Jr., U.S. Atty., J. Owen Forrester, George H. Connell, Jr., Asst. U.S. Attys., Atlanta, Ga., for plaintiff-appellee.
      Appeal from the United States District Court for the Northern District of Georgia; Manuel L. Real, District Judge.
      Before GEWIN, GOLDBERG and DYER, Circuit Judges.
      PER CURIAM:
    
    Affirmed.  See Local Rule 21.1
    
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 5 Cir. 1970, 430 F.2d 966
      
    
    